                                       Case 18-04552-5-SWH                         Doc 17 Filed 01/28/19
                                                                                                  FORM 1
                                                                                                         Entered 01/28/19 14:40:20                                           Page 1 of 1
                                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                          Page:       1
                                                                                              ASSET CASES
Case No:             18-04552-5-SWH          Judge: Stephani W. Humrickhouse                                                                  Trustee Name:                      Algernon L. Butler, III
Case Name:           DEL BUONO, PATRICIA A.                                                                                                   Date Filed (f) or Converted (c):   09/11/18 (f)
                                                                                                                                              341(a) Meeting Date:               10/30/18
For Period Ending: 12/31/18
                                                                                                                                              Claims Bar Date:

                                 1                                            2                     3                      4                   5                         6                            7                    8
                                                                                             Est Net Value
                                                                                                                      Property                                        Asset Fully
                                                                                           (Value Determined
                                                                        Petition/                                     Formally             Sale/Funds             Administered (FA)/
                                                                                            by Trustee, Less
                         Asset Description                             Unscheduled                                   Abandoned             Received by         Gross Value of Remaining              Lien             Exempt
                                                                                           Liens, Exemptions,
             (Scheduled and Unscheduled (u) Property)                    Values                                      OA=554(a)              the Estate                  Assets                      Amount            Amount
                                                                                            and Other Costs)
 No Assets To Report

                                                                                                                                                            Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                $0.00                   $0.00                                     $0.00                           $0.00                  $0.00               $0.00
                                                                                                                                                         (Total Dollar Amount in Column 6)

  _____________________________________________________________________________________________________________________________
  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


  12/31/2018: The Trustee has requested information from the Debtor regarding the status of the flood buyout on her
  residence to determine if the property could be an asset of the estate. Closing date depends on outcome but is
  estimated to be December 31, 2019.


  Initial Projected Date of Final Report (TFR): 06/30/19           Current Projected Date of Final Report (TFR): 06/30/19


           /s/     Algernon L. Butler, III
  __________________________________________ Date: 01/28/19
           ALGERNON L. BUTLER, III




LFORM1EX                                                                                                                                                                                                                   Ver: 21.00a
